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IN RE: BARD IVC FILTERS PRODUCTS
LIABILITY LITIGATION                                                         MDL No. 2641



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ALABAMA NORTHERN

  ALN        5      15−00787       Parker v. CR Bard Inc et al

CALIFORNIA CENTRAL

  CAC        2      15−04213       Melonee Murray et al v. C. R. Bard, Inc. et al
  CAC        2      15−04494       Debra Castellano v. C.R. Bard Inc et al

CALIFORNIA EASTERN

  CAE        2      15−01418       Cronan et al v. C.R. Bard, Inc. et al

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  KS         2      15−09134       Blacketer v. Bard Peripheral Vascular, Inc. et al

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  MSS        3      15−00403       Geter v. C.R. Bard, Inc. et al

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                                   Deserio−Mintz et al v. C.R. BARD, INC., a foreign
                                   corporation et al

TEXAS EASTERN

  TXE       1       13−00633       Smith v. C.R. Bard, Inc. et al

TEXAS NORTHERN

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TEXAS WESTERN

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